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                                   UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                        OAKLAND DIVISION



LARRY GOLDEN,                             )          Case No. 4:22-cv-05246-HSG
                                          )
      Plaintiff,                          )          NOTICE OF ATTORNEY APPEARANCE OF
                                          )          MATTHEW S. WARREN
v.                                        )
                                          )           Judge:      Hon. Haywood S. Gilliam, Jr.
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )


       Defendant Google LLC hereby notifies the Court and the parties to this action that Matthew S.
Warren of Warren Lex LLP, an attorney admitted to practice before this Court, appears as counsel for

defendant Google LLC in this matter. Please serve all pleadings, correspondence, and other materials on
Mr. Warren at the above address.
Date: October 26, 2022                           Respectfully submitted,
                                                 ___________________________________
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